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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


Richland/Wilkin Joint Powers Authority, a        Civil File No. 13-cv-2262 JRT/LIB
Minnesota-North Dakota Joint Powers
Authority,

                    Plaintiff,

and

Minnesota Department of Natural              DEFENDANT FARGO-MOORHEAD
Resources,                                    FLOOD DIVERSION BOARD OF
                                               AUTHORITY’S MOTION TO
                    Plaintiff-Intervenor         MODIFY OR DISSOLVE
                                               PRELIMINARY INJUNCTION
vs.

United States Army Corps of Engineers;
Dr. Mark T. Esper, Secretary of the US
Army Corps of Engineers (in his official
capacity); R.D. James, Assistant Secretary
of the Army for Civil Works (in his
official capacity); and Col. Samuel
Calkins, District Commander, St. Paul
District, US Army Corps of Engineers (in
his official capacity),

                    Defendants,

Fargo-Moorhead Flood Diversion Board
of Authority,

                    Defendant and
                    Defendant-
                    Intervenor,

and

City of Oxbow,

                    Defendant-Intervenor
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       Pursuant to Rules 62 and 65 of the Federal Rules of Civil Procedure, Defendant-
Intervenor Fargo-Moorhead Flood Diversion Board of Authority (“Diversion Authority”)
hereby moves the Court to modify or dissolve the preliminary injunction entered on
September 7, 2017 (ECF #530). Specifically, the Diversion Authority is moving the
Court to allow for construction of certain, limited portions of the “Plan B” Fargo-
Moorhead Flood Control Project, which are described in the accompanying Declaration
of Martin Nicholson, P.E. This Motion is based upon the Supporting Memorandum of
Law, the Meet-and-Confer Statement, the Declaration of Martin Nicholson, P.E., all
pleadings and papers filed in this action, and upon such matters as the Court may
entertain, including oral argument, at the time of the hearing on this Motion.




                                                 DORSEY & WHITNEY LLP

 Dated: March 11, 2019
                                                 By s/Robert E. Cattanach
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                                                      Michael R. Drysdale (#0257606)
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                                                 ATTORNEYS FOR FARGO-
                                                 MOORHEAD FLOOD DIVERSION
                                                 BOARD OF AUTHORITY




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